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                  IN THE UNITED STATES DISTRICT COURT
                     NORTHERN DISTRICT OF FLORIDA
                          TALLAHASSEE DIVISION

DEONSEY LONTE JOHNSON,

               Plaintiff,
v.                                                  CASE NO.: 4:18cv282-MW/MAF

JERRY HILL, et al.,

               Defendants.

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           ORDER ACCEPTING REPORT AND RECOMMENDATION

       This Court has considered, without hearing, the Magistrate Judge’s Report

and Recommendation, ECF No. 84. Upon consideration, no objections1 having been

filed by the parties,

       IT IS ORDERED:

       The report and recommendation is accepted and adopted as this Court’s

opinion. The Clerk shall enter judgment stating, “Defendant Hill’s Motion to

Dismiss, ECF No. 70, and Defendant Key’s Motion to Dismiss, ECF No. 79, are


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          After the Magistrate Judge entered its report and recommendation, Plaintiff moved for an
extension to file objections. ECF No. 85. The Magistrate Judge granted the extension. ECF No.
86. After the first extended deadline passed, this Court adopted the report and recommendation
because Plaintiff did not file any objections. ECF No. 87. Plaintiff, however, once again moved
for an extension of time to file objections. ECF No. 89. While the motion for extension was
docketed after the deadline and after this Court adopted the report and recommendation, this Court
nonetheless granted the extension because it was “mailed on October 23, 2020”—the day
Plaintiff’s objections were due. ECF No. 90. The second extended deadline has now passed, and
Plaintiff has neither filed any objections nor filed for an extension.
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GRANTED for failure to exhaust administrative remedies pursuant to 28 U.S.C. §

1997(e). This case is DISMISSED.” The Clerk is directed to note on the docket that

this case is dismissed pursuant to 28 U.S.C. § 1915(e)(2)(B)(ii). The Clerk shall

terminate ECF No. 83 and close the file.
      SO ORDERED on December 31, 2020.
                                       s/Mark E. Walker
                                       Chief United States District Judge




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